    Case: 4:21-cv-01405-JAR Doc. #: 24 Filed: 05/02/22 Page: 1 of 4 PageID #: 294
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                              IN THE UNITED STATES DISTRICT COURT
 BY MAIL                     FOR THE EASTERN DISTRICT OF MISSOURI
                                        EASTERN DISTRICT

   INIWATSON,

        Claimant,

  vs.                                                Case No. 4:21 -CV-1405 JAR

  EQH SERVICE COMPANY, LLC.,

        Defendant.




        CLAIMANT'S RESPONSE IN OPPOSITION TO DEFENDANT'S MOTION TO DISMISS

     Claimant, lni Watson, files this response in opposition to Defendant's EQH SERVICE
  COMPANY, LLC. motion to dismiss Claimant's Amended Complaint For Failure To
  Accommodate. For the reasons stated below, Claimant respectfully requests that this Court
  deny Defendant's Motion To Dismiss in its entirety.

        1. This case involves a failure to accommodate in violation of the Americans With
           Disabilities Act, as amended 2008.

        2. It is discrimination for "not making reasonable accommodations to the known physical or
           mental limitations of an otherwise qualified individual with a disability who is an applicant
           or employee, unless such covered entity can demonstrate that the accommodation
           would impose an undue hardship on the operation of the business of such covered
           entity." Title 42 U.S.C. Section 12112(b)(5)(A)

        3. "No covered entity shall discriminate against a qualified individual on the basis of
           disability in regard to job application procedures, the hiring, advancement, or discharge
           of employees, employee compensation, job training, or other terms and conditions and
           privileges of employment." Title 42 Section 12112(a)

        4. Claimant's Amended Complaint accompanied by exhibits establishes facts showing;

        5. Claimant has a disability as defined by the ADA when ;

        6. Asthma is a physical impairment that, in this case, substantially limits one's breathing;
           Title 42 Section 12102(1)(2)
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  7. "An impairment that substantially limits one major life activity, such as breathing, need
     not limit other major life activities to be considered a disability." Title 42 Section
     12102(4)(c)

  8. Whether or not Claimant's asthma is episodic it is considered a disability if it would
     substantially limit her breathing when active, as in this case. Title 42 Section
     12102(4)(0)

 9. Claimant's Amended Complaint with exhibits also establishes facts showing;

  10. Claimant informed the Defendant of her asthma and requested an accommodation ; See
      Exhibit 0

  11 . There was an accommodation available that would have been effective and would not
       have posed any undue hardship to Defendant, EQH SERVICE COMPANY LLC. when;

  12. Adjustments to the schedule could have been made, in the same manner as shown in
      Exhibit M (Full Service was changed to Tuesday ) to allow Claimant to work on lighter
      days or

  13. Allowing Claimant to work within the capacity of her title and role as Housekeeping
      Supervisor. See: Exhibit F

  14. Yet, it is clear that the Defendant failed to provide an accommodation to the known
      physical impairment of Claimant's asthma on the basis "it would not be fair to the others"
      and "it is nearly impossible for a company like EQH to predict which days will be "easy.""
      See: Exhibit P

  15. The Defendant elected to take an adverse employment action by wrongly reprimanding
      Claimant for attendance instead when ;

  16. This employment action was inconsistent with following its own attendance policy. See:
      Exhibits Q; R

  17. As a result of its actions in wrongly reprimanding Claimant for attendance, Claimant's
      employment status was contingent upon her attendance at a time when she needed the
      accommodation for her asthma the most.

  18. The Defendant's Motion to Dismiss Claimant's Amended Complaint and its
      Memorandum of Law in Support of its Motion to Dismiss does not justify or eliminate its
      discriminatory conduct nor does it dispute any of the facts in its entirety, suggesting that,
      "Claimant's asthma is not a disability." See: Defendant's Motion To Dismiss Plaintiff's
      Amended Complaint, page 2- paragraph 4
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   19. For all the reasons stated in paragraphs 1- 18, Claimant respectfully requests this Court
       to deny the Defendant's Motion To Dismiss Claimant's Amended Complaint and its
       Memorandum in Support of its Motion To Dismiss, in its entirety.

Claimant prays to this grant to grant relief as sought and any other relief this Court deems just
and proper for the Defendant's unlawful business conduct against Claimant.




                                  CERTIFICATE OF SERVICE

This is is certify that on April 28, 2022 a copy of Claimant's Response In Opposition To
Defendant's Motion To Dismiss was forwarded to Defendant's Attorneys by certified mail:
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Margaret D. Gentzen
Richard B. Korn
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Respectfully submitted,
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lni Watson                                                                                               IPJ/oz_




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